                      UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE


ADVENTIST HEALTH SYSTEM/SUNBELT,                            )
INC.,                                                       )
          Plaintiff,                                        )
                                                            )
v.                                                          )              NO: 2:10-CV-189
                                                            )
KATHLEEN SEBELIUS, SECRETARY,                               )
United States Department of Health and                      )
Human Services,                                             )
               Defendant.                                   )


                                           ORDER

               This matter is before the Court to consider the Report and Recommendation of the

United States Magistrate Judge dated May 11, 2011. In that Report and Recommendation, the

Magistrate Judge recommends that the plaintiff’s Motion for Summary Judgment, [Doc. 17], be

denied and that the defendant’s Motion for Summary Judgment, [Doc. 19], be granted. The plaintiff

has filed objections to this Report and Recommendation. After careful de novo consideration of the

record as a whole, and after careful consideration of the Report and Recommendation of the United

States Magistrate Judge, and for the reasons set out in that Report and Recommendation which are

incorporated by reference herein, it is hereby ORDERED that this Report and Recommendation is

ADOPTED and APPROVED, [Doc. 25], and that plaintiff’s Motion for Summary Judgment, [Doc.

17], is DENIED and that the defendant’s Motion for Summary Judgment, [Doc. 19], is GRANTED.

As such, the case is hereby DISMISSED.

       E N T E R:
                                                           s/J. RONNIE GREER
                                                      UNITED STATES DISTRICT JUDGE




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